






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-08-00177-CV






Gerald Wayne Inman, Appellant


v.


Sherry Ann Bryant, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 426TH JUDICIAL DISTRICT

NO. 99,291-E, HONORABLE FANCY H. JEZEK, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	The trial court signed an order awarding appellee Sherry Ann Bryan almost $30,000
in child support arrearages from appellant Gerald Wayne Inman.  Appellant, who is representing
himself pro se, timely filed a notice of appeal and affidavit of indigence on March 14, 2008. 
Two&nbsp;weeks later, he filed a motion in this Court asking us to suspend the enforcement of the
judgment, citing rule 24.2 of the rules of appellate procedure and arguing that he is entitled
to&nbsp;suspension of the judgment without the need to post a supersedeas bond.  See Tex. R. App.
P.&nbsp;24.2(a)(1) (to suspend judgment for money, bond must equal money award plus interest and costs,
but may not exceed lesser of $25 million or 50% of judgment debtor's net worth).  Appellee has filed
a response asserting that the trial court has sole jurisdiction to determine the sufficiency of
supersedeas and whether the bond amount should be reduced.

	Appellant has since filed a motion asking for an extension time to pay his filing fees
and again asking us to suspend the judgment.  In this motion, he explains that the court reporter filed
a contest to his affidavit of indigence and that, after a hearing, the court signed an order sustaining
the contest and denying appellant's request for a free record.  Appellant asserts that he did not
receive notice of the contest and hearing on the contest until nearly two weeks after the contest was
filed and three days after the trial court signed its order.  He filed a motion in the trial court asking
for a new hearing on the contest; the record does not reflect whether the trial court has
acted&nbsp;on&nbsp;that&nbsp;motion.

	We agree with appellee that the trial court is the proper court to determine whether
the judgment should be suspended.  See Tex. Fam. Code Ann. § 109.002(c) (West 2002) (appeal
from final SAPCR order does not stay order unless trial court orders suspension "with or without a
supersedeas bond").  We therefore abate the appeal until June 30, 2008, and remand it to the trial
court to determine whether the judgment should be suspended and if so, under what conditions. 


					__________________________________________

					David Puryear,  Justice

Before Justices Patterson, Puryear and Henson

Abated

Filed:   May 16, 2008


